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 4
     Attorney for Defendant
 5
     LEONARD WALTER
 6

 7
                                  IN THE UNITED STATES DISTRICT COURT

 8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                              SACRAMENTO DIVISION

10   UNITED STATES OF AMERICA,                        ) Case No. 2:14-CR-0210 JAM
                                                      )
11
                                      Plaintiff,      )
                                                      )
12                                                    ) STIPULATION AND ORDER TO
             vs.                                      ) CONTINUE STATUS CONFERENCE
13                                                    )
     JAMES CLINE,                                     )
14
     LEONARD WALTER,                                  )
                                                      )
15   MICHAEL WRIGHT,                                  )
                                      Defendants.
16

17            IT IS HEREBY STIPULATED by the parties, the UNITED STATES OF
18   AMERICA, through undersigned counsel, Jason Hitt, and Danny Brace, attorney for
19   James Cline; and Jennifer C. Noble, attorney for Leonard Walter, that the Status
20   Conference set for Tuesday, October 27, 2015, be continued to Tuesday, November 17,
21   2015 at 9:15 a.m.
22            The parties need additional time to continue negotiations for possible plea
23   agreements, and counsel for defendants need additional time to investigate potential
24   issues and defenses, conduct research related to the charges, consult with their clients
25   regarding potential resolutions, to prepare pretrial motions, and to otherwise prepare
26   for trial.
27            Therefore, counsel for the parties stipulate and agree that the interests of justice
28   served by granting this continuance outweigh the best interests of the defendants and

                                                       1
     Stipulation and Proposed Order                                       Case No. 2:14-CR-0210 JAM
     To Continue Status Conference
        Case 2:14-cr-00210-JAM Document 65 Filed 10/23/15 Page 2 of 2


 1   the public in a speedy trial. 18 U.S.C. 3161(h)(7)(A) (continuity of
 2   counsel/reasonable time for effective preparation) and Local Code T4, and agree to
 3   exclude time from the date of the filing of the order until the date of the status
 4   conference, Tuesday, November 17, 2015.
 5

 6   Dated: October 22, 2015                           Respectfully submitted,
 7
                                                       By: /s/ Jennifer C. Noble
 8                                                     JENNIFER C. NOBLE
                                                       Attorney for Defendant
 9                                                     LEONARD WALTER
10
     Dated: October 22, 2015                           By: /s/ Danny Brace
11                                                     DANNY BRACE
                                                       Attorney for Defendant
12                                                     JAMES CLINE
13
     Dated: October 22, 2015                           Benjamin B. Wagner
14                                                     United States Attorney
                                                       By: /s/ Jason Hitt
15                                                     JASON HITT
                                                       Assistant U.S. Attorney
16

17

18
                                              ORDER
19

20            GOOD CAUSE HAVING BEEN SHOWN, and pursuant to the stipulation of the

21   parties, the Status Conference presently set for October 27, 2015, in the above-captioned

22   case, is rescheduled for November 17, 2015 at 9:15 a.m.

23   IT IS SO ORDERED.

24
     Dated: 10/23/2015                               /s/ John A. Mendez
25                                              _____________________________
                                                     HON. JOHN A. MENDEZ
26
                                                     U.S. DISTRICT COURT JUDGE
27

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                                                   2
     Stipulation and Proposed Order                                     Case No. 2:14-CR-0210 JAM
     To Continue Status Conference
